                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

T.C. ON BEHALF OF HER MINOR CHILD, S.C., )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )   Civil No. 3:17-cv-01098
                                          )   Judge Trauger
METROPOLITAN GOVERNMENT OF                )
NASHVILLE AND DAVIDSON COUNTY,            )    LEAD CASE
TENNESSEE, D/B/A METROPOLITAN             )
NASHVILLE PUBLIC SCHOOLS,                 )
                                          )
      Defendant.                          )
______________________________________________________________________________

JOHN DOE AND JANE DOE #1 ON BEHALF        )
OF THEIR MINOR CHILD, JANE DOE #2,        )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )   Civil No. 3:17-cv-01159
                                          )   Judge Trauger
METROPOLITAN GOVERNMENT OF                )
NASHVILLE AND DAVIDSON COUNTY,            )    Member Case
TENNESSEE, D/B/A METROPOLITAN             )
NASHVILLE PUBLIC SCHOOLS,                 )
                                          )
      Defendant.                          )
______________________________________________________________________________

SALLY DOE ON BEHALF OF HER MINOR             )
CHILD, SALLY DOE #2,                         )
                                             )
        Plaintiff,                           )
                                             )
v.                                           )   Civil No. 3:17-cv-01209
                                             )   Judge Trauger
METROPOLITAN GOVERNMENT OF                   )
NASHVILLE AND DAVIDSON COUNTY,               )   Member Case
TENNESSEE, D/B/A METROPOLITAN                )
NASHVILLE PUBLIC SCHOOLS,                    )
                                             )




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        Defendant.                                )

______________________________________________________________________________

MARY DOE #1 ON BEHALF OF HER MINOR                )
CHILD, MARY DOE #2,                               )
                                                  )
        Plaintiff,                                )
                                                  )
v.                                                )   Civil No. 3:17-cv-01277
                                                  )   Judge Trauger
METROPOLITAN GOVERNMENT OF                        )
NASHVILLE AND DAVIDSON COUNTY,                    )   Member Case
TENNESSEE, D/B/A METROPOLITAN                     )
NASHVILLE PUBLIC SCHOOLS,                         )
                                                  )
        Defendant.                                )


                                          ORDER

        For the reasons explained in the accompanying Memorandum, the following Motions for

Summary Judgment are hereby GRANTED: the Motion for Summary Judgment filed by the

Metropolitan Government of Nashville and Davidson County d/b/a/ Metropolitan Nashville

Public Schools (“MNPS”) regarding the claims of Jane Doe #2 (Doc. No. 76); and MNPS’s

Motion for Summary Judgment regarding the claims of Sally Doe #2 (Doc. No. 83). The

following motions are GRANTED in part and DENIED in part: MNPS’s Motion for Summary

Judgment regarding the claims of S.C. (Doc. No. 71); and MNPS’s Motion for Summary

Judgment regarding the claims of Mary Doe #2 (Doc. No. 82). The plaintiffs’ Motion for

Summary Judgment (Doc. No. 87) is DENIED. MNPS is GRANTED summary judgment with

regard to S.C.’s Count I, Mary Doe #2’s Count I, and all claims filed by Sally Doe #2 and Jane

Doe #2.

        The Clerk shall enter judgment in accordance with Rule 58, Federal Rules of Civil

Procedure, with regard to the following cases: Case No. 3:17-cv-01159; and Case No.

3:17-cv-01209. Nothing about the consolidation of these cases for discovery and trial shall be

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viewed as affecting the immediate appealability of those judgments.

       It is so ORDERED.




                                                   ________________________________
                                                   ALETA A. TRAUGER
                                                   U.S. District Judge




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